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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )        CRIMINAL ACTION NO.
       v.                              )           2:12cr48-MHT
                                       )              (WO)
MICHAEL SMITH                          )

                                     ORDER

       Because defendant Michael Smith’s objection (doc. no.

286 at 7 ¶ 6) to the United States Magistrate Judge’s

supplemental recommendation (doc. no. 281) relies in part

on a tape-recording of defendant Smith’s interview with

the    Alabama         Bureau   of   Investigation    that       was   played

during      the    evidentiary       hearing   but   not    entered      into

evidence,         it    is   ORDERED   that    counsel     for    defendant

Michael Smith shall file and docket said tape-recording

forthwith so that the court can review and consider it.

       DONE, this the 4th day of June, 2013.

                                            /s/ Myron H. Thompson
                                        UNITED STATES DISTRICT JUDGE
